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  1   Elissa D. Miller, Chapter 7 Trustee
       Elissa.Miller@gmlaw.com
  2   333 South Grand Avenue, Suite 3400
      Los Angeles, California 90071
  3   Telephone: (213) 626-2311
      Facsimile: (954) 771-9264
  4
      Chapter 7 Trustee
  5

  6
                                 UNITED STATES BANKRUPTCY COURT
  7
                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
  8

  9
      In re                                              Case No. 2:20-bk-21022-BR
 10
      GIRARDI KEESE,                                     Chapter 7
 11
                                                         CHAPTER 7 TRUSTEE’S APPLICATION
 12                    Debtor.                           FOR AUTHORITY TO EMPLOY
                                                         GREENSPOON MARDER LLP AS
 13                                                      SPECIAL AVOIDANCE POWER
                                                         LITIGATION COUNSEL EFFECTIVE
 14                                                      JULY 1, 2022; DECLARATION OF
                                                         DANIEL A. LEV IN SUPPORT THEREOF
 15
                                                         (Local Bankruptcy Rule Form 2014-1
 16                                                      Statement of Disinterestedness for
                                                         Employment of Professional
 17                                                      Person Under FRBP 2014, filed
                                                         concurrently herewith)
 18
                                                         DATE:
 19                                                      TIME:  [No Hearing Required]
                                                         PLACE:
 20

 21   TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE,
 22   THE OFFICE OF THE UNITED STATES TRUSTEE, AND INTERESTED PARTIES:
 23                    Elissa D. Miller (“Applicant” or the “Trustee”), the duly appointed, qualified,
 24   and acting chapter 7 trustee for the estate of the debtor Girardi Keese (the “Debtor”),
 25   hereby submits her “Chapter 7 Trustee’s Application for Authority to Employ Greenspoon
 26   Marder LLP As Special Avoidance Power Litigation Counsel Effective July 1, 2022;
 27   Declaration of Daniel A. Lev in Support Thereof” (the “Application”), pursuant to which the
 28   Trustee seeks an order of this Court authorizing the employment of Greenspoon Marder


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  1   LLP to act as her special avoidance power litigation counsel, effective as of July 1, 2022,
  2   and represents as follows:
  3                    1.     On December 18, 2020, petitioning creditors Jill O’Callahan, as
  4   successor in interest to James O’Callahan, Robert M. Keese, John Abassian, Erika
  5   Saldana, Virginia Antonio, and Kimberly Archie (collectively, the “Petitioning Creditors”)
  6   commenced an involuntary petition for relief under chapter 7 of title 11 of the United
  7   Sates Code (the “Bankruptcy Code”) against the Debtor.1 Prior to the involuntary
  8   petition, the Debtor was a plaintiff’s law firm based in Los Angeles, California, which
  9   specialized in the areas of personal injury, defective products, sexual abuse, toxic torts,
 10   business law, employment law, and aviation law. The Debtor was well known in the
 11   national mass torts community representing clients in mass tort cases around the
 12   country, as well as in the local plaintiffs’ bar.
 13                    2.     On December 24, 2020, Petitioning Creditors caused to be filed their
 14   “Motion for Appointment of Interim Trustee Pursuant to 11 U.S.C. § 303(g); Memorandum
 15   of Points and Authorities” [Docket No. 12]. On January 5, 2021, the Court entered its
 16   “Order Granting ‘Motion of Petitioning Creditors for Appointment of Interim Trustee
 17   Pursuant to 11 U.S.C. 303(g)’” [Docket No. 45]. On January 6, 2021, the Office of the
 18   United States Trustee filed its “(Corrected) Notice of Appointment of Chapter 7 Trustee
 19   (11 U.S.C. §§ 303(g) and 701)” [Docket No. 50] pursuant to which, among other things,
 20   Elissa D. Miller was appointed interim chapter 7 trustee for the Debtor’s estate.
 21                    3.     On January 13, 2021, the Court entered its “Order Directing: (1) the
 22   Clerk of Court to Immediately Enter an Order for Relief Under Chapter 7; (2) the United
 23   States Trustee to Immediately Appoint a Chapter 7 Trustee; (3) the Debtor to File All
 24   Schedules and Related Documentation for Chapter 7 Case Within Fourteen Days of the
 25   Entry of This Order; and (4) Vacating February 16, 2021 Status Conference” [Docket No.
 26   68]. On January 13, 2021, the Clerk of Court entered its “Order for Relief and Order to
 27
      1The Petitioning Creditors also filed an involuntary chapter 7 bankruptcy petition against Thomas V.
 28   Girardi, which is currently pending as Case No. 2:20-bk-21020-BR.



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  1   File Schedules, Statements and List(s)” [Docket No. 69]. On January 13, 2021, the
  2   Office of the United States Trustee filed its “Notice of Appointment of Trustee and Fixing
  3   of Bond; Acceptance of Appointment As Interim Trustee” [Docket No. 71] pursuant to
  4   which, among other things, Elissa D. Miller was appointed and accepted her appointment
  5   as chapter 7 trustee for the Debtor’s estate, and she continues to act in that capacity.
  6                    4.   Since her appointment, the Trustee has performed an investigation
  7   into the Debtor’s financial affairs, including a comprehensive review of the Debtor’s books
  8   and records. As a result of her investigation, the Trustee has identified numerous
  9   transfers of interests of property of the estate to third parties, which may constitute
 10   avoidable transfers pursuant to 11 U.S.C. §§ 544, 546, 547, 548, 549, and 550
 11   (collectively the “Avoidance Power Claims”).
 12                    5.   On October 20, 2021, the Trustee caused to be filed her “Chapter 7
 13   Trustee’s Application for Authority to Employ SulmeyerKupetz, A Professional
 14   Corporation, as Special Avoidance Power Litigation Counsel; Declaration of Daniel A.
 15   Lev in Support Thereof” (the “Sulmeyer Application”) [Docket No. 820]. On October 20,
 16   2021, the Trustee also caused to be filed her “Notice of Chapter 7 Trustee’s Application
 17   for Authority to Employ SulmeyerKupetz, A Professional Corporation, as Special
 18   Avoidance Power Litigation Counsel (the “Sulmeyer Application Notice”) [Docket No.
 19   822]. As detailed in the Sulmeyer Application and the Sulmeyer Application Notice, the
 20   Trustee sought to employ SulmeyerKupetz, A Professional Corporation (“Sulmeyer”) as
 21   her special avoidance power litigation counsel general bankruptcy counsel effective as of
 22   October 18, 2021.
 23                    6.   The Sulmeyer Application was brought pursuant to 11 U.S.C. §§
 24   327(a) and 330(a), Federal Rule of Bankruptcy Procedure 2014, Local Bankruptcy Rule
 25   2014-1, and the “Guide to Applications for Employment of Professionals and Treatment
 26   of Retainers” (the “Employment Guide”) issued by the Office of the United States Trustee.
 27   After no objections or requests for hearing were filed, on November 30, 2021, the Court
 28   entered its “Order Granting Chapter 7 Trustee’s Application for Authority to Employ


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  1   SulmeyerKupetz, A Professional Corporation, as Special Avoidance Power Litigation
  2   Counsel” (the “Sulmeyer Application Order”) [Docket No. 893].
  3                    7.   On July 1, 2022, the majority of the lawyers from Sulmeyer joined the
  4   firm of Greenspoon Marder LLP (“Greenspoon”). As such, the Trustee has requested
  5   that Greenspoon be employed as the estate’s general bankruptcy counsel effective July
  6   1, 2022, as Greenspoon is familiar with the legal issues facing the Trustee and the estate
  7   with respect to the Debtor’s chapter 7 case.
  8                    8.   As noted, Applicant now seeks Court approval to retain Greenspoon
  9   as special avoidance power litigation counsel, effective as of July 1, 2022, at the expense
 10   of the Debtor’s estate, to provide the legal services that the Trustee requires to
 11   administer this chapter 7 estate. In accordance with Applicant’s instructions, Greenspoon
 12   will assist the Trustee in (i) investigating the estate’s Avoidance Power Claims, (ii)
 13   advising the Trustee regarding the proposed commencement of Avoidance Power Claims
 14   and any defenses thereto, (iii) negotiating with the recipients of Avoidance Power Claims
 15   regarding any demands transmitted on behalf of the Trustee, (iv) commencing,
 16   prosecuting, defending, and compromising Avoidance Power Claims, (v) preparing for
 17   and attending pre-trial meetings, status and pre-trial conferences, settlement
 18   conferences, mediations, and depositions, and (vi) documenting any compromise of
 19   controversy and seeking court approval for any compromise.
 20                    9.   Greenspoon, at Applicant’s request, may need to appear in,
 21   prosecute, or defend suits and proceedings, if any, when they arise, and to take all
 22   necessary and proper steps in other matters and proceedings involving bankruptcy,
 23   federal and/or state law, or connected with the Avoidance Power Claims, as needed.
 24   Applicant needs to employ Greenspoon to undertake such actions as may be appropriate
 25   or necessary in connection with the preservation and realization of the Avoidance Power
 26   Claims of the chapter 7 estate. Further, Applicant needs to employ bankruptcy counsel
 27   to advise Applicant so that she complies with all provisions of the Bankruptcy Code, the
 28


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  1   Federal Rules of Bankruptcy Procedure, and the Local Bankruptcy Rules in connection
  2   with the Avoidance Power Claims.
  3                    10.   Applicant proposes, upon the granting of this Application, to employ
  4   Greenspoon as her special avoidance power litigation counsel on the same terms as the
  5   Sulmeyer Application. The current range of billing rates for the professionals who are
  6   expected to render services for Applicant range between $475 to $750 per hour. A copy
  7   of the schedule of the current rates being charged by attorneys of Greenspoon expected
  8   to provide services is attached hereto and incorporated herein as Exhibit 1. The
  9   attorneys currently expected to be principally responsible for this matter, and their
 10   respective hourly rates effective as of July 1, 2022, are as follows: Daniel A. Lev ($650)
 11   and Steve Burnell ($475). As shown by the attached resume, which is attached hereto
 12   and incorporated herein as Exhibit 2, Greenspoon is expert in insolvency, bankruptcy,
 13   and litigation matters and is well qualified to represent Applicant.
 14                    11.   Applicant submits that it is in the best interests of the estate to retain
 15   her own firm as counsel for the following reasons:
 16                    (a)   Cost Savings. Employment of Greenspoon would avoid a
 17   duplication of services rendered and ultimately will result in substantial cost savings to
 18   the estate, since the complexities of this case will require an inordinate amount of
 19   interface between the Trustee and her counsel of record.
 20                          (i)    Applicant’s employment of Greenspoon will necessarily result
 21   in a savings for the estate due to the in-house interaction between the Trustee and her
 22   proposed counsel. To bring outside litigation counsel up to date in this case, the Trustee
 23   would be required to meet and confer with a partner of the outside firm to facilitate the
 24   retention of that firm. It is likely that that partner would then assign a number of junior
 25   associates while remaining the supervising attorney. However, if the Trustee’s firm is
 26   employed to represent the Trustee as special avoidance power litigation counsel, the
 27   Trustee will be able to properly assist in the management and staffing of this case.
 28


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  1                          (ii)   Further, the reimbursable costs savings cannot be ignored,
  2   particularly since the recovery of assets of the estate on account of the Avoidance Power
  3   Claims may require negotiations with creditors and former insiders. Telecommunication
  4   services are always required when a Trustee deals with an outside law firm. When the
  5   Trustee’s attorneys are located in the same office, there are no similar costs incurred.
  6   Also, if the Trustee is permitted to employ Greenspoon, communication time will be
  7   decreased. The Trustee will avoid the telephone calls, messages, and speaking with
  8   several persons simply to learn the status of the Avoidance Power Claims. Likewise, the
  9   need for confirming letters and emails back and forth will be eliminated. For these
 10   reasons, the Trustee’s employment of her own firm as special avoidance power litigation
 11   counsel will result in a substantial cost savings.
 12                    (b)   Expedited administration. For many of the same reasons why the
 13   Trustee’s employment of Greenspoon will result in a cost savings, the Trustee’s
 14   employment of Greenspoon as special avoidance power litigation counsel will expedite
 15   administration. Eliminating the need to communicate by telephone, letter, email, or
 16   messenger results in the Trustee’s ability to administer this case without delay. Time lost
 17   due to any delay in communication between the Trustee and outside counsel can be
 18   costly to the estate. Therefore, the Trustee’s employment of Greenspoon will expedite
 19   the administration of this case, and consequently will benefit the estate and its creditors.
 20                    (c)   Expertise. As noted, Greenspoon specializes in insolvency,
 21   litigation, and state court matters. Because of Greenspoon’s expertise, it is the
 22   appropriate firm to competently, efficiently, and timely provide the legal services required
 23   by the Trustee on behalf of the estate and its creditors.
 24                    12.   Applicant proposes to compensate Greenspoon as follows:
 25                    (a)   How Greenspoon Will Charge Its Fees. Similar to the Sulmeyer
 26   Application, Greenspoon will evaluate, investigate, and analyze the Avoidance Power
 27   Claims according to the following structure: It is expected that the time it will take to
 28   perform Greenspoon’s analysis will range from 1 to 6 months, depending upon the quality


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  1   and breadth of information presented to Greenspoon (the “Analysis Period”). After
  2   Greenspoon has completed its analysis, Greenspoon will advise Applicant as to the
  3   course of action that it recommends Applicant take in connection with the Avoidance
  4   Power Claims. The estate will be charged on an hourly basis at 100% of standard fees
  5   for all legal personnel who work on the Avoidance Power Claims during the Analysis
  6   Period. Payment of fees rendered and expenses incurred would be sought on a quarterly
  7   basis by fee application filed with the Bankruptcy Court and subject to Bankruptcy Court
  8   approval, only at the direction of Applicant. In the event Avoidance Power Claims are
  9   resolved during the Analysis Period without the commencement of a formal complaint in
 10   the Bankruptcy Court, such as through a demand letter and subsequent settlement,
 11   Greenspoon would be entitled to 100% of its hourly rate (subject to approval of the
 12   Trustee and the Bankruptcy Court) for services rendered.
 13                    (b)   Success Fee. Similar to the Sulmeyer Application, if Applicant elects
 14   to commence Avoidance Power Claims (each, an “Avoidance Power Claim”) through the
 15   preparation, filing, and prosecution of a formal complaint in the Bankruptcy Court,
 16   Greenspoon agrees to bill on an hourly basis at 50% of its standard fees unless and until
 17   Greenspoon recovers under one or more of the Avoidance Power Claims. For recoveries
 18   under any of the Avoidance Power Claims which are the subject of an adversary
 19   proceeding, Greenspoon shall be entitled to a success fee equal to 20% of the amount
 20   recovered under each Avoidance Power Claim. By way of example only, if Greenspoon
 21   conducts an investigation during the Analysis Period and recommends that the Trustee
 22   commence an Avoidance Power Claim in the amount of $1,000,000, Greenspoon would
 23   be entitled to 100% of its hourly rate (subject to approval of the Trustee and the
 24   Bankruptcy Court) for services rendered during the Analysis Period. If the filing and
 25   prosecution of the Avoidance Power Claim results in a recovery, either by court-approved
 26   settlement or judgment, to the estate, Greenspoon would be entitled to 50% of its hourly
 27   rate (subject to approval of the Trustee and the Bankruptcy Court) for services rendered
 28   during the post-Analysis Period, plus 20% of the net amount recovered. By way of


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  1   further example only, if the Trustee compromises an Avoidance Power Claim in the
  2   amount of $1,000,000 for $100,000, Greenspoon would be entitled to 50% of its hourly
  3   rate for services rendered in preparing and prosecuting the Avoidance Power Claim
  4   (subject to approval of the Trustee and the Bankruptcy Court), plus an additional $20,000
  5   success fee (20% of $100,000). Greenspoon may petition the Court for allowance of the
  6   20% success fee separate and apart from the fees rendered on an hourly basis which
  7   must be sought through a fee application. If the prosecution of an Avoidance Power
  8   Claim results in no recovery, Greenspoon would only be entitled to 50% of its hourly rate
  9   (subject to approval of the Trustee and the Bankruptcy Court) for services rendered.
 10                    (c)   Payment of Costs. Similar to the Sulmeyer Application, any costs
 11   related to the investigation or prosecution of Avoidance Power Claims during the Analysis
 12   Period and post-Analysis Period are to be paid for by the estate (subject to approval of
 13   the Trustee and the Bankruptcy Court).
 14                    13.   Applicant shall ensure that there is no double recovery as between
 15   Sulmeyer and Greenspoon for services rendered and costs incurred on behalf of the
 16   estate.
 17                    14.   Greenspoon understands and agrees to accept employment as
 18   special avoidance power litigation counsel on grounds that its fees and costs may be
 19   awarded only by application to and approval by this Court after notice and a hearing,
 20   provided, however, that, pursuant to paragraph 12(b), Greenspoon may petition the Court
 21   for allowance of the 20% success fee separate and apart from the fees rendered on an
 22   hourly basis which must be sought through a fee application. Greenspoon is familiar with
 23   the Bankruptcy Code and the Bankruptcy Rules, the Local Bankruptcy Rules, and the
 24   United States Trustee Guidelines, and will comply with them.
 25                    15.   Greenspoon has not been paid a monetary retainer.
 26                    16.   Greenspoon carefully has reviewed its files and has determined that
 27   no conflict exists in connection with this matter. Specifically, Greenspoon regularly
 28   checks its internal client database to determine, in this situation, if it represents the


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  1   Debtor or any creditor with a claim against the Debtor. In conducting this search under
  2   the name of the Debtor, no references to the Debtor came up and based upon this
  3   review, Greenspoon has determined that it does not and has not represented anyone
  4   with any interests adverse to the Debtor. Further, and as set forth in the attached
  5   declaration of Daniel A. Lev, Greenspoon represents no creditor or other party in this
  6   case and has no interest adverse to the Debtor or its estate. Therefore, to the best of
  7   Applicant’s knowledge, information, and belief, Greenspoon is a “disinterested” party as
  8   that term is defined by the Bankruptcy Code.
  9                    17.   Applicant is satisfied from the attached declaration of Daniel A. Lev
 10   that the employment of Greenspoon by the Trustee as special avoidance power litigation
 11   counsel would be in the best interest of the estate and its creditors as the services to be
 12   rendered are not duplicative of services being rendered by any other professional of the
 13   estate and the proposed hourly rates are commensurate with the rates being charged by
 14   other professionals and those previously approved by the Court pursuant to the Sulmeyer
 15   Application Order.
 16                    18.   Pursuant to Local Bankruptcy Rule 2014-1(b)(2), the proposed
 17   employment of Greenspoon has been concurrently noticed to all parties in interest.
 18                    19.   Greenspoon is being employed pursuant to 11 U.S.C. §§ 327(a),
 19   328(a), and 330(a). As noted, Greenspoon has agreed to be employed with
 20   compensation to be paid only upon application to, and approval by, the Bankruptcy Court
 21   after notice and a hearing, provided, however, that, pursuant to paragraph 12(b),
 22   Greenspoon may petition the Court for allowance of the 20% success fee separate and
 23   apart from the fees rendered on an hourly basis which must be sought through a fee
 24   application. More specifically, Greenspoon reserves the right to seek payment of its fees
 25   and expenses incurred in the representation of the Trustee from the bankruptcy estate
 26   pursuant to duly-noticed fee applications, to be set not more frequently than every 120
 27   days. Greenspoon will, pursuant to 11 U.S.C. §§ 330 and 331, apply to the Court for
 28   allowance of such fees and costs, which application will be heard upon notice to the


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  1                                 DECLARATION OF DANIEL A. LEV
  2                    I, Daniel A. Lev, declare and state as follows:
  3                    1.     I am an attorney at law, duly qualified and licensed to practice before
  4   this Court. I am a partner of Greenspoon Marder LLP (“Greenspoon”), proposed special
  5   avoidance power litigation counsel for Elissa D. Miller (“Applicant” or the “Trustee”), the
  6   duly appointed, qualified, and acting chapter 7 trustee for the estate of the debtor Girardi
  7   Keese (the “Debtor”), as described herein.
  8                    2.     I make this Declaration in support of the “Chapter 7 Trustee’s
  9   Application for Authority to Employ Greenspoon Marder LLP As Special Avoidance
 10   Power Litigation Counsel Effective July 1, 2022; Declaration of Daniel A. Lev in Support
 11   Thereof” (the “Application”), pursuant to which the Trustee seeks an order of this Court
 12   authorizing the employment of Greenspoon to act as her special avoidance power
 13   litigation counsel, effective as of July 1, 2022. I have personal knowledge of the facts
 14   stated in this declaration, and if called to testify, could and would, without waiver of any
 15   applicable privilege, testify that the facts stated in this declaration are true and correct to
 16   the best of my knowledge and information.
 17                    3.     I am employed by Greenspoon and am one of the attorneys that will
 18   be primarily responsible for the representation of the Trustee in this case. I am
 19   authorized to make this declaration on behalf of Greenspoon in support of this
 20   Application.
 21                    4.     Applicant is seeking to retain Greenspoon as his general bankruptcy
 22   counsel, effective as of July 1, 2022, by the foregoing Application.
 23                    5.     Greenspoon, its partners, senior counsel, and associates are
 24   experienced in matters of bankruptcy, insolvency, litigation, corporate reorganization, and
 25   debtor/creditor law, and in the representation of debtors, creditors, creditors’ committees,
 26   and trustees in cases under the Bankruptcy Code, and is well qualified to represent
 27   debtors, creditors, creditors’ committees, and trustees in such matters. Greenspoon, its
 28   partners, senior counsel, and associates are therefore well qualified to provide advice


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  1   and representation to Applicant in this bankruptcy proceeding. To my knowledge and
  2   information, neither I, Greenspoon, nor its partners, senior counsel, or associates
  3   represent or have any connection with the Debtor, any creditor, or other party in interest
  4   in this case, their respective attorneys or accountants, the United States Trustee or any
  5   person employed in the Office of the United States Trustee, except that certain partners
  6   of Greenspoon, namely, Michael R. Bakst, Howard M. Ehrenberg, and Elissa D. Miller,
  7   are also members of the private panel of trustees maintained by the Office of the United
  8   States Trustee.
  9                    6.    Immediately prior to executing this declaration, I directed an updated
 10   conflicts check to be performed to determine Greenspoon represents a party holding a
 11   claim or other adverse interest against the Debtor. Based on Greenspoon’s
 12   comprehensive investigation, I determined that no potential or actual conflicts of interest
 13   exist. Thus, based upon these conflicts checks, I have determined that Greenspoon
 14   does not represent any party or person holding a claim or adverse interest against the
 15   Debtor, and I have therefore concluded that Greenspoon is “disinterested” as that term is
 16   defined in 11 U.S.C. § 101(14). Neither I, Greenspoon, nor its partners, senior counsel,
 17   or associates have any interest adverse to the Debtor or its estate.
 18                    7.    Neither I, Greenspoon, nor its partners, senior counsel, or associates
 19   have any pre-petition claim against the Debtor or its estate.
 20                    8.    Neither I, Greenspoon, nor its partners, senior counsel, or associates
 21   were an investor of the Debtor or its estate.
 22                    9.    Greenspoon has not in the past represented, nor does Greenspoon
 23   in the future plan to represent, any related debtors or principals of the Debtor, unless so
 24   authorized by the Bankruptcy Court.
 25                    10.   Greenspoon has no connections with the Debtor or its estate.
 26                    11.   Greenspoon is not and was not an equity security holder or an
 27   insider of the Debtor or its estate.
 28


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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE’S APPLICATION FOR
AUTHORITY TO EMPLOY GREENSPOON MARDER LLP AS SPECIAL AVOIDANCE POWER LITIGATION
COUNSEL EFFECTIVE JULY 1, 2022; DECLARATION OF DANIEL A. LEV IN SUPPORT THEREOF will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 28, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See Attached ECF List

                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) July 28, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

Debtor                                                                       The Honorable Barry Russell
Girardi Keese                                                                U.S. Bankruptcy Court
1126 Wilshire Blvd                                                           Roybal Federal Building
Los Angeles, CA 90017-1904                                                   255 E. Temple Street, Suite 1660
                                                                             Los Angeles, CA 90012

                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 July 28, 2922                             Cheryl Caldwell                                     /s/Cheryl Caldwell
 Date                                      Printed Name                                        Signature




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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

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